USCA11 Case: 23-13773    Document: 31-1     Date Filed: 08/27/2024   Page: 1 of 6




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-13773
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       DWIGHT TYRONE MANS,
                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Southern District of Florida
                    D.C. Docket No. 1:15-cr-20596-JAL-1
                          ____________________
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       2                     Opinion of the Court                 23-13773

       Before JILL PRYOR, BRANCH, and TJOFLAT, Circuit Judges.
       PER CURIAM:
              Dwight Mans appeals his upward-variance sentence of 18
       months’ imprisonment, imposed following the revocation of his
       supervised release. He committed a new attempted bank robbery
       four months after his release from incarceration for his underlying
       bank robbery conviction. On appeal, Mans ﬁrst argues that the Dis-
       trict Court imposed a substantively unreasonable sentence and
       gave undue weight to a single 18 U.S.C. § 3553(a) factor, the nature
       of his oﬀense. Second, Mans argues that the District Court failed
       to aﬀord adequate weight to relevant mitigating factors, especially
       his documented and serious mental health issues, which were dis-
       cussed extensively at sentencing. Finally, Mans argues that an
       18-month sentence was nearly 30 percent above the top of his
       guideline range and was well above the parties’ jointly recom-
       mended 13-month sentence and thus required a “compelling” jus-
       tiﬁcation. For the reasons discussed below, the District Court did
       not abuse its discretion in any of these areas, so we aﬃrm Mans’s
       sentence.
                                        I.
              We review the substantive reasonableness of a sentence,
       such as one imposed upon revocation of supervised release, under
       a deferential abuse of discretion standard considering the totality
       of the circumstances. Gall v. United States, 552 U.S. 38, 51
       (2007); United States v. Sweeting, 437 F.3d 1105, 1106–07 (11th Cir.
       2006). The party challenging the sentence bears the burden to
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       23-13773                Opinion of the Court                           3

       establish that the sentence is unreasonable according to the facts of
       the case and the applicable § 3553(a) factors. United States v. Tome,
       611 F.3d 1371, 1378 (11th Cir. 2010). Under the abuse-of-discretion
       standard, we will vacate the defendant’s sentence only if we are
       “left with the deﬁnite and ﬁrm conviction that the district court
       committed a clear error of judgment in weighing the § 3553(a) fac-
       tors by arriving at a sentence that lies outside the range of reason-
       able sentences dictated by the facts of the case.” United States v. Irey,
       612 F.3d 1160, 1190 (11th Cir. 2010) (en banc) (citation omitted).
       We also review an upward variance from the defendant’s guideline
       range under the abuse-of-discretion standard. United States v. Early,
       686 F.3d 1219, 1221 (11th Cir. 2012).
              A district court’s sentence will be deemed substantively un-
       reasonable when the court: (1) fails to consider relevant factors that
       were due signiﬁcant weight, (2) gives an improper or irrelevant fac-
       tor signiﬁcant weight, or (3) commits a clear error of judgment by
       balancing the proper factors unreasonably. Irey, 612 F.3d at 1189.
       The district court’s sentence “need not be the most appropriate
       one, it need only be a reasonable one.” Id. at 1191.
              The district court, when determining the appropriate sen-
       tence upon revocation of supervised release, must consider a num-
       ber of the § 3553(a) factors, such as: the nature and circumstances
       of the oﬀense and the history and characteristics of the defendant;
       the need to aﬀord adequate deterrence to criminal conduct; the
       need to protect the public; the need to provide the defendant with
       needed educational or vocational training, medical care, or other
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       4                       Opinion of the Court                    23-13773

       treatment; the guideline range established for that oﬀense; any per-
       tinent policy statements from the Sentencing Commission; the
       need to avoid unwarranted sentence disparities between similarly
       situated defendants; and the need to provide restitution to any vic-
       tims of the oﬀense. 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C),
       (a)(2)(D), (a)(4), (a)(5)(A), (a)(6), (a)(7); 3583(e)(3); United States v.
       Vandergrift, 754 F.3d 1303, 1308 (11th Cir. 2014). Excluded from the
       list of factors for the district court’s consideration when imposing
       a new term of imprisonment upon revocation of supervised re-
       lease is § 3553(a)(2)(A), which includes the need for the sentence to
       reﬂect the seriousness of the oﬀense, promote respect for the law,
       and provide just punishment. 18 U.S.C. § 3583(e)(3); see 18 U.S.C.
       § 3553(a)(2)(A). How much weight to assign to a particular sen-
       tencing factor is “committed to the sound discretion of the district
       court,” and the court “is permitted to attach ‘great weight’ to one
       factor over others.” United States v. Rosales-Bruno, 789 F.3d 1249,
       1254 (11th Cir. 2015) (citations omitted).
               A district court should impose a variance only after “serious
       consideration” and should explain why that variance “is appropri-
       ate in a particular case with suﬃcient justiﬁcations.” United States
       v. Shaw, 560 F.3d 1230, 1238 (11th Cir. 2009) (citation omitted). The
       district court’s justiﬁcations must be suﬃciently compelling “to
       support the degree of the variance and complete enough to allow
       meaningful appellate review.” Id. (internal quotation marks and
       citation omitted). But because of the district court’s “institutional
       advantage in making sentence determinations,” that court has
       “considerable discretion in deciding whether the § 3553(a) factors
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       23-13773               Opinion of the Court                        5

       justify a variance and the extent of one that is appropriate.” Id.
       (internal citation omitted). In imposing a variance, the district
       court may contemplate conduct already accounted for in calculat-
       ing the defendant’s guideline range. United States v. Johnson, 803
       F.3d 610, 619 (11th Cir. 2015).
               We also have noted that, while “[s]igniﬁcant reliance on a
       single factor does not necessarily render a sentence unreasonable,”
       a district court’s “unjustiﬁed reliance upon any one § 3553(a) factor
       is a symptom of an unreasonable sentence.” United States v. How-
       ard, 28 F.4th 180, 220 (11th Cir. 2022) (emphasis in original) (cita-
       tions omitted). In vacating a defendant’s sentence of 36 months’
       probation, which was an “extraordinary downward variance” from
       the guideline range of 78 to 97 months’ imprisonment, we held
       that numerous letters and oral statements of support were “strong
       and relevant evidence of [the defendant’s] pre-criminal personal
       history and of her personal characteristics,” but, under the totality
       of the circumstances, “[could not] reasonably be held to outweigh
       all of the other § 3553 factors in [her] case.” Id. at 220–21. Noting
       that the defendant was found “guilty of being an essential part” of
       a multi-million dollar criminal enterprise involving a healthcare
       kickback scheme, we concluded that a 100 percent downward var-
       iance showed that the district court “diminished the seriousness of
       the oﬀense, did not promote respect for the law, and did not pro-
       vide just punishment for the oﬀense,” and “gave no weight” to the
       need for general deterrence, all of which warranted “a non-token
       period of incarceration.” Id. at 222, 224–25.
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       6                      Opinion of the Court                 23-13773

              We do not presume that a sentence outside the guideline
       range is unreasonable, and we give deference to the district court’s
       decision that the relevant § 3553(a) factors support the chosen sen-
       tence. United States v. Grushko, 50 F.4th 1, 20 (11th Cir. 2022). We
       have also recognized that a sentence imposed below the statutory
       maximum penalty is an indicator that a sentence is reasonable. Id.                                        II.
              Here, the District Court did not abuse its discretion in im-
       posing its chosen sentence. First, it properly weighed the relevant
       § 3553(a) factors. Second, it did not give undue weight to a single
       § 3553(a) factor, the nature of Mans’s oﬀense, which involved com-
       mitting a new bank robbery just four months after his release from
       conﬁnement that was nearly identical to two prior bank robberies
       underlying his original conviction. Third, it gave adequate weight
       to relevant mitigating factors. As our caselaw makes clear, how
       much weight to give each factor is left to the sound discretion of
       the District Court and we are not left with the deﬁnite and ﬁrm
       conviction that the District Court committed a clear error of judg-
       ment in that weighing here. See Irey, 612 F.3d at 1190; Rosales-Bruno,
       789 F.3d at 1254. Finally, the sentence is only slightly above the
       guidelines’ range and is below the statutory maximum penalty. See
       Grushko, 50 F.4th at 20.
                                        III.
              Accordingly, Mans’s sentence of 18 months’ imprisonment
       is substantively reasonable. Therefore, we aﬃrm.
             AFFIRMED.
